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UNITED STATES DISTRICT COURT                                                        1/12/2021
SOUTHERN DISTRICT OF NEW YORK

 THEOPOLIS BURROUGHS,

                                  Petitioner,
                                                               1:20-cv-04814 (ALC)
                      -against-
                                                               Order
 LYNN J. LILLEY,

                                  Respondent.

ANDREW L. CARTER, JR., United States District Judge:

       By letter dated December 1, 2020, Petitioner submitted a request for an extension to respond

to the Government’s opposition to Petitioner’s habeas corpus petition. ECF No. 20. On December 4,

2020, the Court granted Petitioner’s request for an extension until February 3, 2021. ECF No. 21.

Respondent was ordered to serve that order on Petitioner and file proof of service by December 11,

2020. To date, Respondent has not filed proof of service.

       To the extent Respondent has not served Petitioner with the order issued on December 4,

2020, Respondent is hereby ORDERED to serve and file proof of service by no later than January 15,

2021. If Respondent has already served Petitioner, Respondent is hereby ORDERED to file proof of

service by no later than January 15, 2021.

       Respondent is hereby ORDERED to serve this order on Petitioner and file proof of service by

no later than January 15, 2021.



SO ORDERED.

Dated: January 12, 2020                               ___________________________________
       New York, New York                                  ANDREW L. CARTER, JR.
                                                           United States District Judge
